Case 2:03-CV-02908-BBD-tmp Document 42 Filed 09/02/05 Page 1 of 2 Page|D 75

UNITED STATES DISTR!CT COURT Fv,»:€i“' AZ/ D.C.
WESTERN DISTRICT OF TENNE'SSEEU.5 SEP _2 w H: 39

WESTERN DIVISION

  
 

- ;;:;;-L-‘LD
"-'-;“1!-“‘1 cer

:`v`»_ "_| g,;:n‘,l )i
\’\F§'l"[__}' ', :_ "1'.\4[)?£3!“|{3

 

ALPHONZO CHALMERS ' JUDGMENT IN A CIVIL CASE

va

GLEN TURNER CASE NO: 03-2908-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND A.DJUDGED that in accordance with the Order Of
Dismiesel entered on March 29, 2005,r this cause is hereby
dismissed.

  

  
 

 

ERN CE B. DONLLD
I D STATES DISTRICT COURT

 

Clerk of

15 nix @<&@M 1 Q£Q,,
Y) de 0

yu y' Clerk

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:03-CV-02908 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

ESSEE

 

K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Alphonzo Chalmers
HCCF-WHITEVILLE
228717

P.O. Box 549

Whiteville, TN 38075--054

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

J. Ross Dyer

ATTORNEY GENERAL OFFICE
425 5th Avenue North

Nashville, TN 37243--049

Honorable Bernice Donald
US DISTRICT COURT

